 

	
	
	
	
	OSCN Found Document:STEWART v. MERCY HEALTH CENTER, INC.

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
        Court Dockets

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				STEWART v. MERCY HEALTH CENTER, INC.2014 OK 101Case Number: 113237Decided: 11/25/2014THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2014 OK 101, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

LADONNA STEWART, Plaintiff/Appellee,
v.
MERCY HEALTH CENTER, INC., Defendant/Appellants.
MEMORANDUM OPINION
PER CURIAM:
¶1 On February 11, 2014, the plaintiff/appellee, Ladonna Stewart (Stewart/employee), filed suit against the defendant/appellants, Mercy Health Center, Inc. (Mercy/employer), in district court. Stewart alleged that Mercy had acted in bad faith in refusing to provide benefits previously ordered by the Workers' Compensation Court. Mercy filed a motion to dismiss on March 12, 2014, alleging that Stewart failed to comply with the jurisdictional requirement of obtaining a certification or order from the Workers' Compensation Court that the employer failed to provide the employee with benefits previously ordered by that tribunal.1
¶2 The trial court refused to dismiss the cause from the bench in April with the order being filed on July 18, 2014. Mercy filed a motion for reconsideration or in the alternative for an order certifying an immediate appeal. On August 29, 2014, the trial court denied the employer's motion for reconsideration but granted the request for an order certifying an immediate interlocutory appeal. The Petition for Certiorari was filed on September 26, 2014. The Response shows a file stamp of October 7th.
¶3 In consideration of the above recounted and undisputed facts, WE DETERMINE:


1) Certiorari should be granted.
2) The sole issue presented is whether the district court has jurisdiction to proceed in the instant cause. The question is one of law subject to this Court's de novo review. Samson Resources Co. v. Newfield Exploration Mid-Continent, Inc., 2012 OK 68, ¶10, 281 P.3d 1278; Rogers v. Quiktrip Corp., 2010 OK 3, ¶4, 230 P.3d 853.
3) The employee does not contend, in the response to the Petition for Certiorari, that she obtained a certification or other order complying with 85 O.S. Supp. 2014 §79 before filing the bad faith claim in district court.
4) Our jurisprudence makes it clear that failure to obtain an order of the Workers' Compensation Court certifying the award as unpaid is a jurisdictional requirement to filing a bad faith claim for failure to pay benefits in the district court. Sizemore v. Continental Casualty Co., 2006 OK 36, ¶26, 142 P.3d 36. See also, Summers v. Zurich American Ins. Co., 2009 OK 33, ¶¶12-15, 213 P.3d 565

5) The nature of this cause, presenting a pure issue of law on a jurisdictional issue which is guided by well-established jurisprudence on an undisputed fact, i.e. the lack of a certified order from the Workers' Compensation Court, makes the preparation of a record2 and the filing of briefs3 a waste of the parties' time and attorney fees and of judicial resources. 
6) The trial court should dismiss the cause without prejudice, giving the employee an opportunity to correct the jurisdictional defect presently existing.


¶4 The cause is remanded to the district court for the dismissal of the cause in accordance with the directions contained herein. 
REVERSED AND REMANDED.
COLBERT, C.J., REIF, V.C.J., KAUGER, WATT, WINCHESTER, EDMONDSON, COMBS, GURICH, JJ. - concur.
TAYLOR, J. - concurs in result. 
FOOTNOTES
1 The employee's argument that case law construing this requirement, formerly contained in §42 of title 85, is inapplicable because the statute was repealed is unconvincing. Title 85A O.S. Supp. 2014 §79 contains language substantially similar to that found in the prior statutes on the subject. Section 79 provides:


"If any employer fails to comply with a final compensation judgment or award, any beneficiary of the judgment or award, or the Commission, may file a certified copy of the judgment or award in the office of the district court clerk of any county in this state where any property of the employer may be found. At that time, the district court clerk shall enter the judgment or award in the judgment record of the county, and the judgment or award so recorded shall be a judgment and lien as are judgments of the district court, and enforceable as such."


We agree with the employee that the employer did not strictly comply with the requirements of Rule 1.52(b), Oklahoma Supreme Court Rules, Ch. 15, App. 1 by providing a concise statement from the trial court indicating what "the pertinent parts of the record, when transcribed, will disclose and a like statement of the reasons why the order should be reviewed in advance of final judgment . . .". Nevertheless, under the facts presented, the petition provides sufficient information for the Court to proceed in this cause. See, Fischer v. Farmers Ins. Exchange, 1972 OK 130, 501 P.2d 1105 (A petition for certiorari which did not comply with Rule 1.52 and did not provide sufficient information to allow the Court to proceed was found deficient.). 
2 Rule 1.54, Oklahoma Supreme Court Rules, 12 Ohio St. 2011, Ch. 15, App. 1. 
3 Rule 1.55, Oklahoma Supreme Court Rules, 12 Ohio St. 2011, Ch. 15, App. 1.




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1972 OK 130, 501 P.2d 1105, FISCHER v. FARMERS INSURANCE EXCHANGEDiscussed
&nbsp;2006 OK 36, 142 P.3d 47, SIZEMORE v. CONTINENTAL CASUALTY COMPANYCited
&nbsp;2009 OK 33, 213 P.3d 565, SUMMERS v. ZURICH AMERICAN INSUR. CO.Discussed
&nbsp;2010 OK 3, 230 P.3d 853, ROGERS v. QUIKTRIP CORP.Discussed
&nbsp;2012 OK 68, 281 P.3d 1278, SAMSON RESOURCES CO. v. NEWFIELD EXPLORATION MID-CONTINENT, INC.Discussed
Title 85. Workers' Compensation
&nbsp;CiteNameLevel

&nbsp;85 Ohio St. 79, Repealed by Laws 1977, HB 1228, c. 234, § 62, eff. July 1, 1978Cited
Title 85A. Workers' Compensation
&nbsp;CiteNameLevel

&nbsp;85A O.S. 79, District Court - Recognition of Judgment - LienCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
